Case 3:20-mj-00093-WGC Document 11 Filed 09/18/20 Page 1of1

 

UNITED STATES os ca —— RECENED
8 OFFICE OF THE CliERK— 5 COUNSELIPARTIES OF RECORD
“A DISTRICT OF NEVADA
BRUCE R. THOMPSON U.S. COURTHDUS 5
AND FEDERAL BUILDING SEP 1. 2029
400 SOUTH VIRGINIA STREET #301

CLERK US Dic TRICT COURT
RENO vA et DISTRICY OF NEVADA

 

 

 

 

 

 

 

(775) 686-5800 py. DEPUTY
Debra K. Kempi Lia Griffin
Clerk of Court Divisional Manager, Reno
September 18, 2020

Court Clerk

US. District Court

Eastern District of California, Sacramento
Robert T. Matsui United States Courthouse
501 I Street, Suite 4200

Sacramento, CA 95814

RE: USA v. KRISTY LYNN FELKINS
Your File No. 2:20-mj-0140-CKD
Our File No. 3:20-mj-00093-WGC

Dear Clerk:

Please be advised that the above-referenced defendant was arrested in the District of Nevada
on the warrant issued by the Eastern District of California. Mrs. Felkins has appeared before The
Honorable William G. Cobb, on Thursday, September 17, 2020 and has been released on a personal
recognizance bond. An order has been entered directing the defendant appear in the Eastern
District of California, Sacramento at 2:00 P.M. by Zoom Video Conference.

Enclosed are all documents completed in this district.

If you have any questions or require further information, please do not hesitate to contact me
at (775) 686-5918.

Sincerely yours,

D RA K. KEMPI, CLERK OF COURT

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By: ‘Karen Walker, Courtroom Deputy

Enclosures
